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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


UNITED STATES OF AMERICA,

                       Plaintiff,                       NOTICE
v.                                                      Case No. 2:23-CR-152-2
                                                        Sarah D. Morrison
ADEN ABDULLAHI JAMA

                        Defendant.


        TAKE NOTICE that a proceeding in this case has been set for the place, date, and time
set forth below:

Place: United States District Court               Courtroom No. 132 (in person)
       Joseph P. Kinneary U.S. Courthouse
       85 Marconi Boulevard                        August 1, 2023, at 11:45 a.m.
       Columbus, Ohio 43215

TYPE OF PROCEEDING: Arraignment

If Defendant is on bond, it is the responsibility of counsel to notify the defendant of the
hearing, date, location, and time.




                                          SARAH D. MORRISON
                                          UNITED STATES DISTRICT JUDGE
DATE:
July 27, 2023


                                            s/ Maria Rossi Cook
                                          (By) Maria Rossi Cook, Deputy Clerk
